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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

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EASTERN DIVISION 7
€CE r", ' F?. 01
MARCIA B. NANCE, ) W('LDEH§»F L%`Sl. TH%P
Plaintiff, §
v. § No. 1-04-1307-T/AN
THE GOODYEAR TIRE & RUBBER CO., §
Defendant. §

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are

established as the final dates for:

lNITIAL DISCLOSURES (RULE 26(a)(1)): JUNE 10 2005

 

 

 

 

JOINING PARTIES:
For Plaintiff: JUNE 24 2005
For Defendant: JUNE 24 2005
AMENDING PLEADINGS:
For Plaintiff: JUNE 24 2005
For Defendant: JUNE 24 2005

 

COMPLETING ALL DISCOVERY: DECEMBER 9 2005

 

(a) REQUESTS FOR PRODUCTION, INTERROGATORIES and

REQUESTS FOR ADMISSIONS: DECEMBER 9 2005

 

(b) EXPERT DISCLOSURE (Rule 26 (a)(2)):
(i) Plaintiffs Expert: SEPTEMBER 9 2005
(ii) Defendant's Expert: OCTOBER 10 2005
(iii) Supplementation under Rule 26(e):

(c) DEPoSITIoNs 0F EXPERTS:

 

 

DECEMBER 30 2005

 

This document entered on the docket sheet in compliance
with nme ss and/or 19 (a) FncP on _QS,SQQ@"

OCTOBER 20 2005 -

 

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FILING DISPOSITIVE MOTIONS: JANUARY 10 2006. Any response to a
dispositive motion, including a motion for summary judgment, shall be filed
within 30 days of the filing of the dispositive motion or by FEBRUARY 9 2006,
whichever is earlier.

 

 

FINAL LIST OF WITNESSES AND EXHIBITS (Rule 26(a)(3)):

(a) PLAINTIFF: FEBRUARY 24 2006

 

(b) DEFENI)ANT: MARCH 10 2006

 

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under rule 26(a)(3).

The trial of this matter is expected to last three to four days, and is SET FOR JURY
TRIAL at 9:30 a.m. on Monday, April 10l 2006. A joint pretrial order is due on Friday, March
31 2006. ln the event the parties are unable to agree on a joint pretrial order, the parties must
notify the court at least ten days before trial.

 

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if the FRCP allow 30 days for a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or service of the response, answer, or objection which is the subject
of the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(1)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for Which a reply is required.

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that will not be continued unless a
continuance is agreed to by all parties, or an emergency arises Which precludes the matter from
proceeding to trial.

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The parties are encouraged to engage in court-annexed attorney mediation or private

mediation on or before the close of discove§g

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or

extended

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

IT IS SO ORDERE]).

DATE: Yl/ln~} 27’. Zcq"

 

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 7 in
case 1:04-CV-01307 was distributed by fax, mail, or direct printing on
May 31, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

